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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

                                             :
WESLEY K. WYATT; ANNA                        :
WYATT; and THE FINANCIAL                     :
GREENHOUSE,                                  :      CIVIL NO. 1:CV-03-0726
                                             :
                    Plaintiffs               :
                                             :
             v.                              :
                                             :
TERRANCE A. KEATING and                      :
JOHN DOE,                                    :
                                             :
                    Defendants               :
                                             :
                                 MEMORANDUM
             Before the court is Defendant Keating’s motion for summary judgment.
Keating asserts that summary judgment is appropriate because there is no genuine
issue as to whether the Pennsylvania Insurance Department (“the Department”)
refused to reinstate Wesley Wyatt’s insurance license. Because a reasonable fact-
finder could only conclude that the Department did not refuse to reinstate Mr.
Wyatt’s license, the court will grant Keating’s motion.


I.           Factual and Procedural Background
             Plaintiffs filed the instant action on April 30, 2003 alleging violations of
42 U.S.C. § 1983 as well as their rights under state law. Plaintiffs claimed that their
Commerce Clause and First, Fourth, and Fourteenth Amendment rights were violated
as a result of the Department’s decision to revoke Mr. Wyatt’s license to sell
insurance. Additionally, Plaintiffs asserted a tortious interference with contractual
rights claim under state law.
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                 In response to Plaintiffs’ Complaint, the original defendants, Keating,
Jefferson-Pilot Insurance Company, American National (Legacy) Inc., and Life USA
(Alliance) Inc., filed motions to dismiss. On October 1, 2003, the court granted
these motions on the ground that Plaintiffs’ claims were barred by the statute of
limitations. In so ruling, the court rejected Plaintiffs’ arguments that certain
exceptions to the statute of limitations applied in this case, namely exhaustion
requirements, the continuing violations doctrine, and the Younger abstention doctrine.
The court also granted Plaintiffs leave to amend their Complaint as to whether the
Department’s alleged refusal to reinstate Mr. Wyatt’s license following the
Commonwealth Court of Pennsylvania’s reversal of the Department’s revocation was
a discriminatory act that occurred within the statute of limitations.
                 On November 4, 2003, Plaintiffs filed an Amended Complaint under 42
U.S.C. § 1983. In their Amended Complaint, Plaintiffs allege that Keating, who is
Deputy Chief Counsel for the Department, a John Doe defendant, and others at the
Department refused to reinstate Mr. Wyatt’s license and refused to return a $1,000
civil fine that had been levied upon him and therefore, violated Plaintiffs’ Commerce
Clause and First, Fourth, and Fourteenth Amendment rights. 1 (Am. Compl. ¶¶ 1, 11,


             1
                Plaintiffs’ counsel is apparently confused about which parties remain as plaintiffs in the instant
action. The Amended Complaint names Wesley K. Wyatt, Anna Wyatt, and The Financial Greenhouse as
plaintiffs in the caption. (Am. Compl. at 1.) The Amended Complaint then lists Wesley Wyatt, Anna Wyatt,
and The Financial Greenhouse as parties to the action. (Id. ¶¶ 6, 7, 8.) Further, Plaintiffs’ counsel states that
Keating’s refusal to reinstate Mr. Wyatt’s license financially injured his wife, Anna Wyatt, and that the “injuries
to Anna and the Greenhouse were foreseeable.” (Id. ¶¶ 21, 22.) However, Plaintiffs’ counsel also notes that
“Anna Wyatt’s rights, if any, have been ended by this Court” and refers to Anna Wyatt and the Financial
Greenhouse as former plaintiffs. (Id. ¶ 21, 23.) Nevertheless, Plaintiffs’ counsel requests damages on behalf of
“[t]he plaintiffs . . . in their own right and jointly.” (Id. ¶ 28.)
               In one of his briefs to the court, Plaintiffs’ counsel attempted to provide some clarification on the
matter. He explained that his understanding was that the claims against Anna Wyatt and The Financial
                                                                                                     (continued...)

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27, 28.) Specifically, Plaintiffs allege that Defendants violated the following
constitutional rights: (1) “a 1st Amendment right to do business and to associate,” (2)
“a right under the Commerce Clause,” (3) a “14th Amendment substantive due
process right to further his business ends,” (4) a right under the First Amendment “to
pursue his chosen profession,” (5) a Fourteenth Amendment right to be “devoid of
unreasonable government interference,” (6) a Fourth Amendment right “not to be
maliciously and improperly prosecuted,” and (7) a Fourteenth Amendment right to
equal protection under the law.2 (Id. ¶¶ 1, 10, 11.) Plaintiffs also raised a state law
claim of tortious interference with contractual relations. 3 (Id. ¶ 29.)


              1
                (...continued)
Greenhouse had been dismissed because the court, in its October 1, 2003 memorandum, limited the scope of
Plaintiffs’ leave to amend their Complaint to the issue of “whether the Department’s refusal to reinstate Mr.
Wyatt’s insurance license was a discriminatory act that occurred within the statute of limitations.” Wyatt v.
Keating, No. 1:CV-03-0726, slip op. at 14 n.11 (M.D. Pa. Oct. 1, 2003). In interpreting this limitation,
Plaintiffs’ counsel posited: “As plaintive [sic] understands this language the only possible claim remaining would
be Mr. Wyatt’s claim against Mr. Keating?” (Pls.’ Br. in Opp’n to Keating’s Mot. to Dismiss the Am. Compl.
at 8.) Plaintiffs’ counsel, however, overlooked language in the October 1, 2003 memorandum that states: “The
court will grant Plaintiffs leave to amend their complaint to allow them the opportunity to address [whether
the Department refused to reinstate Mr. Wyatt’s license].” Wyatt, No. 1:CV-03-0726 at 14 n.11 (emphasis
added). In fact, the court used similar language several times throughout the memorandum and order, each time
using the plural form of “plaintiff.” Id. at 17-18, 19, 19 n.13. Thus, the court, while dismissing Anna Wyatt’s
and The Financial Greenhouse’s claims relating to the revocation of Mr. Wyatt’s license, clearly allowed Anna
Wyatt and The Financial Greenhouse to pursue claims relating to the Department’s alleged refusal to reinstate
Mr. Wyatt’s license. Accordingly, the court will read Plaintiffs’ Amended Complaint to include Anna Wyatt
and The Financial Greenhouse as plaintiffs.
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                Even though Plaintiffs use the singular form of nouns and pronouns to describe the alleged
constitutional violations, the court will assume that Plaintiffs intended the § 1983 claims to pertain to all of the
plaintiffs, especially in light of the fact that the Amended Complaint can be read to include Anna Wyatt and The
Financial Greenhouse as part of the § 1983 claims. See supra note 1.
             3
              Plaintiffs attempt to raise allegations in their Amended Complaint that relate to the revocation of
Mr. Wyatt’s license as opposed to the failure to reinstate his license. For instance, Plaintiffs assert that “Mr.
Keating and others at the insurance department set in motion a series of unjust procedures that lead [sic] to a
revocation of Mr. Wyatt’s license.” (Am. Compl. ¶ 19.) To the extent Plaintiffs’ allegations in their Amended
Complaint relate to the revocation of Mr. Wyatt’s license, those claims have already been dismissed in the
                                                                                                  (continued...)

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                 In response to Plaintiffs’ Amended Complaint, Keating filed a motion to
dismiss or, in the alternative, for summary judgment. After this motion was fully
briefed, the court reviewed the parties’ arguments and determined that Keating’s
motion should be treated as a motion for summary judgment. See Wyatt v. Keating,
No. 1:CV-03-0726 (M.D. Pa. Jan. 30, 2004) (order providing notice to the parties that
Keating’s motion would be treated as a motion for summary judgment).
Accordingly, the court allowed the parties to submit supplemental briefing on the
issues. Id.
                 Keating alleges the following facts in his supplemental brief in support of
his motion for summary judgment. Following the Commonwealth Court’s April 30,
2001 reversal of the Department’s revocation of Mr. Wyatt’s license, Jack Yanosky,
the Director of the Department’s Bureau of Producer Services4 and the individual
responsible for insurance licensing, put Mr. Wyatt’s license into active status on July
3, 2001. (Ex. A in Supp. of Keating’s Suppl. Br. in Supp. of Mot. for Summ. J.,
Yanosky Aff. ¶¶ 1, 3, 9.) In doing so, Mr. Yanoksy made the activation retroactive
to the date of the Commonwealth Court’s decision, April 30, 2001. (Id. ¶ 9.) When
Mr. Yanosky activated Mr. Wyatt’s license in the Department’s database, the
information was automatically submitted to a national “Producer Database,” which
insurance companies use to learn an individual’s license status. (Id. ¶ 10.) Mr.
Yanoksy also personally mailed a copy of Mr. Wyatt’s license to him via first-class
mail to his last known address on July 3, 2001. (Id. ¶ 11.) Mr. Wyatt had an

             3
             (...continued)
court’s October 1, 2003 memorandum and order and will not be addressed here.
             4
              Under 40 Pa. Cons. Stat. § 310.1, a producer is “[a] person that sells, solicits or negotiates
contracts of insurance.”

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obligation to notify the Department if his address had changed. (Id. ¶ 12.) Keating
attached a copy of the reinstated license that was sent to Mr. Wyatt to his
supplemental brief. (See Ex. B in Supp. of Keating’s Suppl. Br. in Supp. of Mot. for
Summ. J.; see also Yanosky Aff. ¶ 14.)
             Mr. Wyatt’s reinstated license was set to expire on February 2, 2002.
(Ex. A in Supp. of Keating’s Suppl. Br. in Supp. of Mot. for Summ. J., Yanosky
Aff. ¶ 15.) The Department mailed a renewal form to Mr. Wyatt in November 2001.
(Id. ¶ 17.) Mr. Wyatt completed the form, signed and dated it, and returned it along
with a $36 renewal fee on November 27, 2001. (Id. ¶ 18.) Keating attached a copy
of Mr. Wyatt’s license renewal form to his supplemental brief. (See Ex. C in Supp.
of Keating’s Suppl. Br. in Supp. of Mot. for Summ. J.; see also Yanosky Aff. ¶ 19.)
Following receipt of Mr. Wyatt’s renewal form, the Department sent him a copy of
his renewed license. (Ex. A in Supp. of Keating’s Suppl. Br. in Supp. of Mot. for
Summ. J., Yanosky Aff. ¶ 20.) Keating attached a copy of Mr. Wyatt’s renewed
license to his supplemental brief. (See Ex. D in Supp. of Keating’s Suppl. Br. in
Supp. of Mot. for Summ. J.; see also Yanosky Aff. ¶ 21.)
             In order to maintain an insurance license, Mr. Wyatt must complete
continuing education requirements. (Ex. A in Supp. of Keating’s Suppl. Br. in Supp.
of Mot. for Summ. J., Yanosky Aff. ¶ 32.) According to the Department’s
continuing education database, Mr. Wyatt participated in courses on June 11-12,
2001, January 13-16, 2002, and June 24, 2002. (Id.) Keating attached Mr. Wyatt’s
continuing education transcript to his supplemental brief. (See Ex. G in Supp. of
Keating’s Suppl. Br. in Supp. of Mot. for Summ. J.; see also Yanosky Aff. ¶ 34.)



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             In addition to maintaining a continuing education transcript, the
Department maintains a license history for each producer. (Ex. A in Supp. of
Keating’s Suppl. Br. in Supp. of Mot. for Summ. J., Yanosky Aff. ¶ 36.) Following
the Commonwealth Court’s decision to reverse the Department’s revocation of Mr.
Wyatt’s license, the Department updated Mr. Wyatt’s license history to “Active”
status as of April 30, 2001. (Id. ¶ 37.) The license history also indicates that Mr.
Wyatt has an appointment with Fidelity and Guaranty Life Insurance Company,
which means that he is employed to sell insurance on its behalf. (Id. ¶¶ 38-39.) In
order to sell insurance in the Commonwealth, a person must be licensed. 40 Pa.
Cons. Stat. § 310.3(a). Keating attached a copy of the license history to his
supplemental brief. (See Ex. H in Supp. of Keating’s Suppl. Br. in Supp. of Mot. for
Summ. J.; see also Yanosky Aff. ¶ 36.)
             As for the $1,000 civil fine levied upon Mr. Wyatt, Keating offers the
affidavit of Jill A. Keiser, the Administrative Officer for the Financial Enforcement
Section of the Office of the Attorney General. (Ex. I in Supp. of Keating’s Suppl.
Br. in Supp. of Mot. for Summ. J., Keiser Aff. ¶ 1.) The Financial Enforcement
Section (“the Section”) collects all delinquent financial obligations owed to the
Commonwealth of Pennsylvania. (Id. ¶ 5.) According to Ms. Keiser’s records, the
Department referred Mr. Wyatt’s case to the Section in early 2001 for collection of a
$1,000 civil fine. (Id. ¶ 7.) The Section attempted to collect the $1,000 by sending
Mr. Wyatt two letters, but received no response. (Id. ¶ 8.) The Section then referred
Mr. Wyatt’s case to a collection agency. (Id. ¶ 9.) Ultimately, two different
collection agencies attempted to collect the $1,000 fine from Mr. Wyatt, but were
unsuccessful. (Id.) On December 16, 2002, the Section notified the Department that


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it was ceasing collection efforts against Mr. Wyatt and instructed the Department to
close Mr. Wyatt’s account in their records. (Id. ¶ 10.)
                  In response to Keating’s factual allegations, Plaintiffs offer an affidavit
prepared by Mr. Wyatt. 5 (See Ex. P-1 in Supp. of Pls.’ Br. in Opp’n to Keating’s
Suppl. Br.) In the affidavit, Mr. Wyatt states: “To the best of my knowledge, I did
not receive any notice of my PA license being reinstated at any time.” (Id.) Further,
he relates that although he filled out a renewal form in November 2001, he received
nothing in return. (Id.) Finally, he asserts that he has not received notice that the
Department corrected wrong information in “inspection reports” and requests the
Department to send notification to life insurance companies that his license was
reinstated. (Id.)




II.               Legal Standard
                  Summary judgment is proper when “the pleadings, depositions, answers
to interrogatories, and admissions on file, together with the affidavits, if any, show
that there is no genuine issue as to any material fact and that the moving party is

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                In their brief to the court, Plaintiffs refer to Exhibit P-1 as an affidavit; however, the document, at
first glance, resembles a notarized letter more than an affidavit. Under Federal Rule of Civil Procedure 56(e),
an affidavit must (1) be made on personal knowledge, (2) set forth such facts as would be admissible in
evidence, and (3) show affirmatively that the affiant is competent to testify to the matters stated therein.
Additionally, “[a]n affidavit is a statement reduced to writing and the truth of which is sworn to before someone
who is authorized to administer an oath.” Pfeil v. Rogers, 757 F.2d 850, 859 (7th Cir. 1985) (internal
quotation omitted). Although Exhibit P-1 does not affirmatively lay a foundation that the three Rule 56(e)
requirements are met, the court finds that, in reviewing the substance of the document and the fact that it is
notarized, the document can be construed as an affidavit, albeit a crude one. See Williams v. Hager Hinge
Co., 916 F. Supp. 1163, 1168-69 (M.D. Ala. 1995) (concluding that a five-page letter with a notarized cover
sheet met the requirements of Rule 56(e)).

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entitled to a judgment as a matter of law.” Fed. R. Civ. P. 56(c); accord Saldana v.
Kmart Corp., 260 F.3d 228, 231-32 (3d Cir. 2001). A factual dispute is “material” if
it might affect the outcome of the suit under the applicable law. Anderson v. Liberty
Lobby, Inc., 477 U.S. 242, 248 (1986). A factual dispute is “genuine” only if there is
a sufficient evidentiary basis that would allow a reasonable fact-finder to return a
verdict for the non-moving party. Id. at 249. The court must resolve all doubts as to
the existence of a genuine issue of material fact in favor of the non-moving party.
Gans v. Mundy, 762 F.2d 338, 341 (3d Cir. 1985); see also Reeder v. Sybron
Transition Corp., 142 F.R.D. 607, 609 (M.D. Pa. 1992).
              Once the moving party has shown that there is an absence of evidence
to support the claims of the non-moving party, the non-moving party may not simply
sit back and rest on the allegations in its complaint. See Celotex Corp. v. Catrett,
477 U.S. 317, 324 (1986). Instead, it must “go beyond the pleadings and by [its]
own affidavits, or by the depositions, answers to interrogatories, and admissions on
file, and designate specific facts showing that there is a genuine issue for trial.” Id.
(internal quotations omitted); see also Saldana, 260 F.3d at 232 (citations omitted).
Summary judgment should be granted where a party “fails to make a showing
sufficient to establish the existence of an element essential to that party’s case and on
which that party will bear the burden at trial.” Celotex, 477 U.S. at 322-23. “ ‘Such
affirmative evidence – regardless of whether it is direct or circumstantial – must
amount to more than a scintilla, but may amount to less (in the evaluation of the
court) than a preponderance.’ ” Saldana, 260 F.3d at 232 (quoting Williams v.
Borough of West Chester, 891 F.2d 458, 460-61 (3d Cir. 1989)).



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III.          Discussion
              In its October 1, 2003 memorandum and order, the court granted
Plaintiffs leave to amend their complaint to assert claims relating to the Department’s
alleged constitutional violations in refusing to reinstate Mr. Wyatt’s license. Wyatt,
No. 1:CV-03-0726 at 19. Plaintiffs filed an Amended Complaint alleging that Keating
and a John Doe defendant, acting on behalf of the Department, never reinstated Mr.
Wyatt’s license or reimbursed his $1,000 civil fine in violation of his constitutional
rights and state law. (Am. Compl. ¶¶ 21, 24, 25.) Keating, however, argues in his
motion for summary judgment that Plaintiffs cannot prove that he refused to reinstate
Mr. Wyatt’s license because the evidence overwhelming shows that Mr. Wyatt’s
license was reinstated. Further, Keating asserts that the Department did not refuse to
return Mr. Wyatt’s $1,000 civil fine because it never collected the fine in the first
place. For the reasons set forth below, the court agrees with Keating’s arguments;
therefore, the court will grant his motion for summary judgment.
              A.     Refusal to Reinstate
              The court limited the scope of Plaintiffs’ Amended Complaint to the
issue of “whether the Department’s refusal to reinstate Mr. Wyatt’s license was a
discriminatory act that occurred within the statute of limitations.” Wyatt, No. 1:CV-
03-0726 at 19. Upon review of the affidavits and documents submitted by the
parties, the court finds that the Department, and those acting on behalf of it, could
not have discriminated against Mr. Wyatt by refusing to reinstate his license because
they did in fact reinstate his license. In other words, there is not a sufficient
evidentiary basis that would allow a reasonable fact-finder to conclude that the
Department never restored Mr. Wyatt’s license, as Plaintiffs allege in their Amended


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Complaint. (See Am. Compl. ¶¶ 21, 24, 25.) First, Mr. Wyatt’s license history
demonstrates that his license was in active status as of April 30, 2001. (See Ex. H in
Supp. of Keating’s Suppl. Br. in Supp. of Mot. for Summ. J.) Second, Mr.
Yanoksy, the Director of the Bureau of Producer Services, stated in a sworn affidavit
that he personally put Mr. Wyatt’s license into active status and made the activation
date retroactive to April 30, 2001. (Ex. A in Supp. of Keating’s Suppl. Br. in Supp.
of Mot. for Summ. J., Yanoksy Aff. ¶ 10.) Third, Keating produced a copy of the
reinstated license. (See Ex. B in Supp. of Keating’s Suppl. Br. in Supp. of Mot. for
Summ. J.; see also Yanoksy Aff. ¶ 14.) Fifth, Mr. Wyatt renewed his reinstated
license. (Ex. C in Supp. of Keating’s Suppl. Br. in Supp. of Mot. for Summ. J.; see
also Yanoksy Aff. ¶¶ 18-21.) Sixth, Mr. Wyatt completed continuing education
requirements to maintain his license. (Ex. G in Supp. of Keating’s Suppl. Br. in
Supp. of Mot. for Summ. J.; see also Yanoksy Aff. ¶ 35.) Finally, Mr. Wyatt has an
appointment with a life insurance company to sell policies on its behalf, which
requires a valid license. (Ex. A in Supp. of Keating’s Suppl. Br. in Supp. of Mot. for
Summ. J., Yanoksy Aff. ¶¶ 38-41.) In short, there is a plethora of evidence that
demonstrates that the Department reinstated Mr. Wyatt’s license and that Mr. Wyatt
acted as though his license had been reinstated.
             In an attempt to counter the profuse amount of evidence showing that
Mr. Wyatt’s license has been reinstated, Plaintiffs make the following arguments.
First, the license history does not clearly indicate that Mr. Wyatt’s license was
reinstated. Second, Mr. Wyatt stated in his affidavit that he never received notice of
his license being reinstated and that even though he sent his renewal form in, he never
received anything in return. Finally, the Department’s two-month delay in activating


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Mr. Wyatt’s license is evidence of their refusal to reinstate. The court will address
each argument in turn.
              Plaintiffs contend that Mr. Wyatt’s license history does not reflect that
his license was reinstated on April 30, 2001. They argue: “Even a rocket scientist
with a nuclear physicist or two thrown in would not be able to figure out how [the
license history] demonstrates to anyone that Mr. Wyatt’s license was reinstated.”
(Pls.’ Br. in Opp’n to Keating’s Mot. to Dismiss the Am. Compl. at 4.) The license
history, however, while not using the word “reinstated,” plainly demonstrates that Mr.
Wyatt’s license was active as of April 30, 2001. Under the category “Licenses and
Qualifications,” the first major heading of the document, the report shows that Mr.
Wyatt has a “Resident Agent” license that is in “Active” status effective “April 30,
2001.” (See Ex. H in Supp. of Keating’s Suppl. Br. in Supp. of Mot. for Summ. J.)
Nevertheless, Plaintiffs object to the fact that below the line showing that Mr. Wyatt’s
license is active, there is an entry showing that his license was inactive as of
September 5, 2000 due to revocation. (Id.) Plaintiffs argue that this entry is
misleading and should be removed from the report. Plaintiffs’ argument, however,
has little to do with the Department’s alleged discriminatory conduct in refusing to
reinstate Mr. Wyatt’s license. In fact, Plaintiffs have not come forward with any
evidence to suggest that this entry was motivated by discriminatory animus or
anything other than mere bureaucratic procedure. See Fed. R. Civ. P. 56(e) (“When
a motion for summary judgment is made and supported as provided in this rule, an . .
. adverse party’s response, by affidavits or as otherwise provided in this rule, must
set forth specific facts showing that there is a genuine issue for trial.”).



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             Next, Plaintiffs offer Mr. Wyatt’s affidavit for the proposition that Mr.
Wyatt never received notice of his license being reinstated at any time and that
although he filled out a renewal form in November 2001, he received nothing in
return. (See Ex. P-1 in Supp. of Pls.’ Br. in Opp’n to Keating’s Suppl. Br.) As an
initial matter, the court notes that Plaintiffs’ Amended Complaint alleges that the
Department refused to reinstate Mr. Wyatt’s license, not that the Department
discriminated against Mr. Wyatt by refusing to notify him that his license was
reinstated. Therefore, the salient issue is whether the Department restored Mr.
Wyatt’s license to active status. Nonetheless, to the extent Plaintiffs’ argue that the
failure to notify was essentially a refusal to reinstate because Mr. Wyatt never knew
about the reinstatement, a great deal of evidence exists to suggest that Mr. Wyatt in
fact had notice that his license was reinstated. Mr. Yanosky stated that he personally
mailed a copy of Mr. Wyatt’s reinstated license to him at his last known address and
that Mr. Wyatt is required to notify the Department of changes in his address. (Ex. A
in Supp. of Keating’s Suppl. Br. in Supp. of Mot. for Summ. J., Yanoksy Aff. ¶¶
11-12.) Additionally, Mr. Wyatt acted as though he knew his license had been
reinstated. He completed continuing education requirements as required by the
Department. (Id. ¶¶ 32-35.) He acquired an appointment to sell insurance on behalf
of a life insurance company, which by law requires a license. (Id. ¶¶ 38-41.) And he
renewed his license in a timely fashion. (Id. ¶¶ 16-21.) In his affidavit, Mr. Wyatt
contends that he did not receive anything in return after he submitted his renewal form
to the Department. However, he continued to participate in continuing education
courses in January and June 2002 after his license was renewed, and he obtained the
appointment in June 2003. (Id. ¶¶ 35, 38.) Indeed, Keating produced a copy of the


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renewed license. (Ex. D in Supp. of Keating’s Suppl. Br. in Supp. of Mot. for
Summ. J.) Therefore, the evidence indicates that Mr. Wyatt was aware that his
license had been renewed. In short, Plaintiffs have failed to demonstrate that there is
a genuine issue that the Department’s alleged failure to notify Mr. Wyatt that his
license had been reinstated and later renewed was motivated by discriminatory
animus.
              Finally, Plaintiffs assert that the Department’s roughly two-month delay
in activating Mr. Wyatt’s license is evidence of its refusal to reinstate his license.
Again, the court notes that Plaintiffs’ Amended Complaint does not allege that the
two-month delay in activating Mr. Wyatt’s licence was a discriminatory act. Rather,
Plaintiffs, in their Amended Complaint, repeatedly contend that the Department never
reinstated Mr. Wyatt’s license. (Am. Compl. ¶¶ 21, 24, 25.) Regardless, in their
opposition to Keating’s summary judgment motion, Plaintiffs fail to offer any
evidence that the two-month delay stemmed from discrimination. See Fed. R. Civ. P.
56(e) (“When a motion for summary judgment is made and supported as provided in
this rule, an . . . adverse party’s response, by affidavits or as otherwise provided in
this rule, must set forth specific facts showing that there is a genuine issue for trial.”).
Keating, however, argues that there was a legitimate reason for the delay. The
Department had thirty days to seek leave to appeal the Commonwealth Court’s
decision, see Pa. R. App. P. 1113, and then it took one month to process the
reinstated license. In sum, the Department’s two-month delay in activating Mr.
Wyatt’s license is not a sufficient evidentiary basis that would allow a reasonable
fact-finder to conclude that the Department refused to reinstate Mr. Wyatt’s license.



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              Because Plaintiffs’ arguments do not suffice to create a genuine issue of
whether Mr. Wyatt’s license was reinstated, the court will grant Keating’s motion for
summary judgment. In fact, Plaintiffs do not seriously dispute that Mr. Wyatt’s
license was reinstated. In their brief in opposition to Keating’s supplemental brief,
they write:
              During [a conference call between the court and both
              parties,] the court opined that Mr. [Wyatt’s] license had in
              fact been reactivated. Upon study plaintiff agrees that the
              court may be technically correct in its observation, but
              respectfully offers that the mere technical restoration of the
              plaintiff’s license is really not the issue, or at least the
              complete issue.
(Pls.’ Br. in Opp’n to Keating’s Suppl. Br. at 2-3.) Most of Plaintiffs’ arguments go
to the Department’s alleged failure to notify Mr. Wyatt that his license had been
reinstated. As stated above, notification of Mr. Wyatt’s reinstated license is not the
real issue before the court, per Plaintiffs’ Amended Complaint. Further, the evidence
convincingly demonstrates that Mr. Wyatt did in fact have notice that his license was
reinstated. Nevertheless, a reasonable fact-finder could only conclude that the
Department reinstated Mr. Wyatt’s license following the April 30, 2001 court
decision. Thus, Keating is entitled to judgment in his favor on this issue.




              B.     Refusal to Return the $1,000 Civil Fine
              As for Plaintiffs’ allegations that the Department refused to return Mr.
Wyatt’s $1,000 civil fine, the court concludes that a reasonable fact-finder could not
return a verdict for Plaintiffs on this issue. In her affidavit, Jill Keiser, the


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Administrative Officer of the Financial Enforcement Section of the Office of the
Attorney General, asserts that her records indicate that the Section attempted to
collect the $1,000 by sending Mr. Wyatt two letters, but no response was received.
(Ex. I in Supp. of Keating’s Suppl. Br. in Supp. of Mot. for Summ. J., Keiser Aff. ¶¶
7-8.) The Section then referred Mr. Wyatt’s case to two different collection
agencies, who were unsuccessful in collecting the $1,000 fine. (Id. ¶ 9.) Finally, on
December 16, 2002, the Section ceased collection efforts and instructed the
Department to close Mr. Wyatt’s account. (Id. ¶ 10.) Plaintiffs do not set forth any
evidence to rebut Ms. Keiser’s affidavit. Mr. Wyatt’s affidavit does not address the
issue. Plaintiffs’ only argument is that the fact collection efforts continued until
December 16, 2002 indicates that the Department was nonresponsive to the April 30,
2001 court decision. This argument, however, only obfuscates the real issue – the
Department never collected the $1,000 in the first place. Thus, there is no genuine
issue of material fact that the Department refused to return the $1,000 civil fine to Mr.
Wyatt.


III.              Conclusion
                  The court concludes that a reasonable fact-finder could not return a
verdict in Plaintiffs’ favor on their § 1983 and state law claims. Therefore, the court
finds that Keating’s motion for summary judgment should be granted. The court will
dismiss Plaintiffs’ claims against Defendants in their entirety.6 An appropriate order
will issue.


              6
               Because Plaintiffs have failed to establish the identity of the John Doe defendant, Plaintiffs’ claims
against this unknown entity will also be dismissed.

                                                       15
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                                             s/Sylvia H. Rambo
                                             Sylvia H. Rambo
                                             United States District Judge
Dated: May 27, 2004.
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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

                                          :
WESLEY K. WYATT; ANNA                     :
WYATT; and THE FINANCIAL                  :
GREENHOUSE,                               :      CIVIL NO. 1:CV-03-0726
                                          :
                  Plaintiffs              :
                                          :
           v.                             :
                                          :
TERRANCE A. KEATING and                   :
JOHN DOE,                                 :
                                          :
                  Defendants              :
                                          :
                                     ORDER
           In accordance with the accompanying memorandum of law, IT IS
HEREBY ORDERED THAT:
           1) Defendant Keating’s motion for summary judgment (Doc. 43) is
GRANTED.
           2) Plaintiffs’ claims against Defendant John Doe are dismissed.
           3) The Clerk of Court shall close the case file.




                                                   s/Sylvia H. Rambo
                                                   Sylvia H. Rambo
                                                   United States District Judge
Dated: May 27, 2004.
